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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                            Chapter 11

    CHESAPEAKE ENERGY CORPORATION.,                                   Case No. 20-33233 (DRJ)
    et al.,1
                                                                      (Jointly Administered)
                                  Debtors.


       THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ WITNESS AND
        EXHIBIT LIST FOR HEARING SCHEDULED JULY 31, 2020 AT 11:00 A.M.

             The Official Committee of Unsecured Creditors (the “Committee”) files this Witness and

Exhibit List for the hearing to be held on July 31, 2020 at 11:00 a.m. (Central) in the Southern

District of Texas, Houston Division.

                                         WITNESSES (May Call)

    1. Robert Albergotti (fact and expert; live             Judge:  Honorable David R. Jones
       or via declaration);                                         Courtroom 400
    2. Dominic Dell’Osso:                                   Hearing Date: July 31, 2020
    3. Stephen Antinelli:                                   Hearing Time: 11:00 a.m.
    4. Any rebuttal and/or impeachment                      Party’s Name: The Official Committee of
       witnesses; and                                                Unsecured Creditors
    5. All persons listed on the witness list of            Attorneys’ Names: William R. Greendyke
       any party.                                                              Jason L. Boland
                                                                               Louis R. Strubeck, Jr.
                                                                               Julie G. Harrison
                                                                               Robert J. Stark
                                                                               Bennett S. Silverberg
                                                                               Kenneth J. Aulet
                                                                               Andrew M. Carty
                                                                               Jeffrey L. Jonas
                                                                               Steven B. Levine
                                                            Attorneys’ Phone: (713) 651-5151

1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.


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                                                                     (212) 209-4800
                                                 Nature of Proceeding: Second Day
                                                 Hearings, including Final Hearing on
                                                 Debtors’ Emergency Motion for Entry of
                                                 Interim and Final Orders (I) Authorizing the
                                                 Debtors to Obtain Postpetition Financing,
                                                 (II) Authorizing the Debtors to Use Cash
                                                 Collateral, (III) Granting Liens and
                                                 Providing Claims with Superpriority
                                                 Administrative Expense Status, (IV)
                                                 Granting Adequate Protection to the
                                                 Existing Secured Parties, (V) Modifying the
                                                 Automatic Stay, (VI) Scheduling a Final
                                                 Hearing, and (VII) Granting Related Relief
                                                 [Dkt. No. 22]

                                        EXHIBITS


                                                                  Admitted/Not
No.              Description                Offered Objection                  Disposition
                                                                   Admitted
      UCC 30(b)(6) Notice to Debtors
 1.
      re: DIP
      Debtors Rs&Os to UCC 30(b)(6)
 2.
      Notice
      Stephen Antinelli Declaration in
 3.   support of DIP Motion, Dkt. No.
      22
      Dominic Dell'Osso First Day
 4.   Declaration in support of First Day
      Motions
      2020-05-20 CHK0000049 -
      Project Cherokee - Board
 5.
      discussion materials (5.5.20)
      [FILED UNDER SEAL]
      2020-04-27 CHK0008242 meeting
      + attachments Dell'Osso call re
 6.
      DIP Proposal Grid – JPM
      [FILED UNDER SEAL]
      2020-04-28 CHK0000037 Project
      Cherokee - Board discussion
 7.
      materials (4.28.20)
      [FILED UNDER SEAL]
      2020-05-01 CHK0008916 DIP
 8.
      Proposal grid + attachments

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      [FILED UNDER SEAL]
      2020-05-10 CHK000001 Project
      Cherokee Board of Directors
9.
      Materials
      [FILED UNDER SEAL]
      2020-05-08 CHK0007304 MUFG
10.   to Dell'Osso email + attachments
      [FILED UNDER SEAL]
      2020-05-15 CHK0001353
      Dell'Osso & Antinelli email re
11.
      term sheet + attachments
      [FILED UNDER SEAL]
      2020-06-13 CHK0008848
      Antinelli email attaching CHK
12.   Term Sheet Comparison_Fwd
      CHK
      [FILED UNDER SEAL]
      2020-05-01 CHK0008220
      Dell'Osso email re MUFG
13.
      syndication strategy
      [FILED UNDER SEAL]
      2020-05-17 CHK0007464.
      Dell'Osso catch up email with JPM
14.
      re CHK fee proposal
      [FILED UNDER SEAL]
      2020-05-18 CHK0007874 MUFG
15.   Dell'Osso call
      [FILED UNDER SEAL]
      2020-05-21 CHK0008156
      download call re Dell'Osso
16.
      conversation with MUFG
      [FILED UNDER SEAL]
      2020-05-21 CHK0008174
      Dell'Osso catch up chatter re
17.
      MUFG v. JPM
      [FILED UNDER SEAL]
      2020-05-21 CHK0008901 email re
      Steering Committee_FW
18.
      Chesapeake
      [FILED UNDER SEAL]
      2020-06-04 CHK0008908 email
      attaching DIP + Exit Facilities -
19.   MUFG Term Sheets & Exit Sizing
      (06-04-20)
      [FILED UNDER SEAL]


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      2020-06-11 CHK0044797
      Antinelli email re MUFG & CHK
20.
      Dip Term Sheet (no attachment)
      [FILED UNDER SEAL]
      2020-06-12 CHK0008161
      Dell'Osso final DIP points call
21.
      with MUFG & CHK
      [FILED UNDER SEAL]
      Declaration of Robert Albergotti
      filed in support of the Committee’s
22.   DIP Objection, Dkt. No. 514
      [REDACTED VERSION AND
      SEALED VERSION]
      RBL Exit Facility, execution
23.   version
      [FILED UNDER SEAL]
      Backstop Credit Agreement among
      Debtors in Possession, execution
24.
      version
      [FILED UNDER SEAL]
      DIP Budget filed in support of DIP
25.
      Motion, Dkt. No. 22
      Initial Monthly Forecast –
26.   Chesapeake
      [FILED UNDER SEAL]
      Fell Letter – Filed Stamped
27.
      [FILED UNDER SEAL]
28. [RESERVED]

29. [RESERVED]

30. PG&E Final DIP Order

31. Frontier Interim DIP Order

32. Intelsat Final DIP Order

33. Peabody Final DIP Order

34. SunEdison Final DIP Order

35. Windstream Final DIP Order

36. Neiman Marcus Final DIP Order

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37. McDermott Final DIP Order

38. Sanchez Energy Final DIP Order

39. Foresight Energy Final DIP Order

40. EXCO Resources Final DIP Order
    Sheridan Holding Co II Final DIP
41.
    Order
    Vanguard Natural Resources Final
42.
    DIP Order
43. Arch Coal Final DIP Order

44. EP Energy Final DIP Order

45. Murray Energy Final DIP Order

46. iHeart Media Final DIP Order
      Weatherford International Final
47.
      DIP Order
48. Avaya Final DIP Order

49. Windstream Final DIP Order
    Second Amendment to DIP Credit
50. Agreement
    [FILED UNDER SEAL]
    CHK - JPM DIP Administrative
    Agent Fee Letter (Sent to JPM
51.
    5520)-v4
    [FILED UNDER SEAL]
    CHK - JPM DIP Fee Letter (Sent
52. to JPM 5520)-v6
    [FILED UNDER SEAL]
    CHK - JPM DIP Term Sheet
    (K&E Draft
53.
    5.1.2020)_(67940984_7)
    [FILED UNDER SEAL]
    JPM Proposal (05.15.20)
54.
    [FILED UNDER SEAL]
    Project Cherokee - Bank
55. discussion materials DRAFT
    (5.19.20)
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         [FILED UNDER SEAL]
         Supplemental Declaration of
   56.   Robert Albergotti in support of
         Committee’s DIP Objection
         Any document or pleading filed in
   57.   the above captioned cases,
         including any exhibits thereto
         Any exhibit designated by any
   58.
         other party
         Any exhibit necessary to rebut the
         evidence or testimony of any
   59.
         witness offered or designated by
         any other party

         The Committee reserves the right to cross-examine any witnesses called or designated by

any other party, to use any exhibits designated by any other party or documents filed of record

with the Court, as well as any exhibits necessary for impeachment or rebuttal. The Committee

reserves the right to call adverse parties as witnesses, to call any additional rebuttal witnesses, and

to introduce rebuttal exhibits as necessary. The Committee reserves the right to further amend

and/or supplement the foregoing exhibit and witness list.

Dated: July 29, 2020
       Houston, Texas
                                              Respectfully submitted,

                                              NORTON ROSE FULBRIGHT US LLP

                                              By: /s/ Jason L. Boland
                                              William R. Greendyke (SBT 08390450)
                                              Jason L. Boland (SBT 24040542)
                                              Julie G. Harrison (SBT 24092434)
                                              1301 McKinney Street, Suite 5100
                                              Houston, TX 77010
                                              Telephone: (713) 651-5151
                                              Facsimile: (713) 651-5246
                                              Email: william.greendyke@nortonrosefulbright.com
                                              Email: jason.boland@nortonrosefulbright.com
                                              Email: julie.harrison@nortonrosefulbright.com

                                              -and-


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                           Louis R. Strubeck, Jr. (SBT 19425600)
                           Kristian W. Gluck (SBT 24038921)
                           Richard S. Krumholz (SBT 00784425)
                           2200 Ross Avenue, Suite 3600
                           Dallas, TX 75201-7932
                           Telephone: (214) 855-8000
                           Facsimile: (214) 855-8200
                           Email: louis.strubeck@nortonrosefulbright.com
                           Email: kristian.gluck@nortonrosefulbright.com
                           Email: richard.krumholz@nortonrosefulbright.com

                           -and-

                           BROWN RUDNICK LLP

                           Robert J. Stark (pro hac vice)
                           Bennett S. Silverberg (pro hac vice)
                           Kenneth J. Aulet (pro hac vice pending)
                           Andrew M. Carty (pro hac vice pending)
                           Seven Times Square, 47th Floor
                           New York, NY 10036
                           Telephone: (212) 209-4800
                           Facsimile: (212) 209-4801
                           Email: rstark@brownrudnick.com
                           Email: bsilverberg@brownrudnick.com
                           Email: kaulet@brownrudnick.com
                           Email: acarty@brownrudnick.com

                           - and-

                           Jeffrey L. Jonas (pro hac vice)
                           Sunni P. Beville (pro hac vice)
                           Steven B. Levine (pro hac vice pending)
                           One Financial Center
                           Boston, MA 02111
                           Telephone: (617) 856-8200
                           Facsimile: (617) 856-8201
                           Email: slevine@brownrudnick.com

                           Proposed Counsel for the Official Committee of
                           Unsecured Creditors




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                               CERTIFICATE OF SERVICE

      The undersigned certifies that on July 29, 2020, a true and correct copy of the foregoing
document was served via the Court’s CM/ECF system on all counsel of record.


                                           /s/ Bob Bruner




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